        Case 1:12-cv-07545-RWS Document 22 Filed 06/28/12 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA

                                RELATED CASE ORDER

        An Administrative Motion to Consider Whether Cases Should Be Related has
been filed, requesting a determination as to whether the following cases are related
within the meaning of Civil L.R. 3-12(a):

       C 12-2662 MMC        Spatz, et al. v. Facebook, Inc., et al.
       C 12-2666 MMC        Offner v. Facebook, Inc., et al.
       C 12-2680 MMC        Chang, et al. v. Facebook, Inc., et al.
       C 12-2815 MMC        Gregory v. Facebook, Inc., et al.
       C 12-3195 SBA        Lapin v. Facebook, Inc., et al.
       C 12-3196 LHK        DeMois. Jr. v. Facebook, Inc. et al.
       C 12-3197 EMC        Pilgram v. Facebook, Inc., et al.
       C 12-3198 YGR        Alfonso v. Facebook, Inc., et al.
       C 12-3199 JSW        Lazar v. Facebook, Inc., et al.
       C 12-3200 RS         Shierry v. Facebook, Inc., et al.
       C 12-3201 CW         Cuker, et al. v. Facebook, Inc., et al.
       C 12-3202 EMC        Lieber v. Facebook, Inc., et al.
       C 12-3203 YGR        Stokes v. Facebook, Inc., et al.

       On the basis of the material submitted to the Court, as the Judge assigned to the
earliest filed case, I find that the cases:

              [   ] ARE NOT RELATED as defined by Civil L.R. 3-12(a).

              [ X ] ARE RELATED as defined by Civil L.R. 3-12(a).

               Counsel are instructed that all future filings in the reassigned cases are to
bear the initials MMC immediately after the case number. Any case management
conference in the reassigned cases will be rescheduled by the Court. Any dates for
hearing noticed motions are vacated and must be re-noticed by the moving party before
the undersigned; any deadlines set by the ADR Local Rules remain in effect; and any
deadlines established in a case management order continue to govern, except dates for
appearance in court, which will be rescheduled by the undersigned.


DATED: June 28, 2012

                                                     MAXINE M. CHESNEY
                                                     United States District Judge
